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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

  L-3 COMMUNICATIONS SECURITY
  AND DETECTION SYSTEMS
  CORPORATION DELAWARE,


                   Plaintiff,
  v.                                                 CIVIL ACTION NO. 04-10339-RWZ
  AMERICAN SCIENCE &
  ENGINEERING, INC.,


                   Defendant.


                    ASSENTED TO MOTION FOR LEAVE TO FILE
                  SURREPLY IN SUPPORT OF L-3’S OPPOSITION TO
                AS&E’S MOTION FOR PARTIAL SUMMARY JUDGMENT
              TO ADDRESS NEW ISSUES RAISED FOR THE FIRST TIME IN
                         AS&E’S REPLY MEMORANDUM


           L-3 requests leave to file the accompanying Surreply in opposition to AS&E’s

Motion for Partial Summary Judgment on inequitable conduct.

           AS&E moved for partial summary judgment on the sole argument that it had

made a full disclosure of all material information to the PTO. Indeed, AS&E expressly

conceded for the purposes of its motion that the information identified by L-3 was

material to the prosecution of the patents-in-suit. (AS&E’s Mem. at 2, 8 n. 1).

           Thus, L-3’s initial Opposition concentrated on the disclosure issue. The

Opposition pointed out that the patent application had stated that the patented system

had been developed pursuant to a government contract, but that it had concealed that

the contract (which reflected a sale of the patented invention) had been entered into




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more than a year before AS&E had filed its initial patent application. Since this sale was

prior to the critical date of AS&E’s patents, it was prior art.

           AS&E’s Reply did not dispute that the disclosure was inadequate. Instead,

AS&E changed its position, ignoring its earlier concession that the withheld information

was “material.” Its Reply now argued that there had been no need to disclose the

information to the PTO in the first place. Specifically, AS&E alleged that the sale was

not material because the invention was not then “ready for patenting.” AS&E also

asserted, for the first time, that the Court should grant summary judgment on the ground

that AS&E had had no “intent to deceive the PTO.”

           L-3 thus requests leave to file this Surreply to address these newly-raised issues.


                                             Respectfully submitted,

                                             L-3 COMMUNICATIONS SECURITY AND
                                             DETECTION SYSTEMS CORPORATION
                                             DELAWARE


           Dated: March 1, 2005              /s/ James J. Foster
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                              LOCAL RULE 7.1 CERTIFICATE

           As indicated in the certification under Local Rule 7.1 accompanying AS&E’s

motion for leave to file its reply, counsel for the parties have conferred and AS&E has

assented to L-3’s filing of this motion.



                                     /s/ Robert M. Abrahamsen_______




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